            Case 1:23-cv-01615-CKK Document 65 Filed 03/04/24 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

MERCK & CO., INC., and
MERCK SHARP & DOHME LLC,

                   Plaintiffs,
                                                            Civ. No. 1:23-01615 (CKK)
       v.

XAVIER BECERRA, U.S. Secretary of Health &
Human Services, et al.

                   Defendants.


     RESPONSE TO DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY

       Plaintiffs (Merck) respectfully respond to Defendants’ notice of supplemental authority

(ECF 64) regarding AstraZeneca Pharmaceuticals LP v. Becerra (D. Del. Mar. 1, 2024).

       The AstraZeneca plaintiffs claimed the Drug Price Negotiation Program violates the Due

Process Clause by impairing their “ability to sell [their] drugs to Medicare at prices above the

ceiling prices … established by the IRA.” (Op. 38.) The district court rejected that claim because

“[n]o one … is entitled to sell the Government drugs at prices the Government won’t agree to pay.”

(Op. 40.) The plaintiffs therefore failed to identify “the deprivation of a constitutionally protected

property interest,” and their Due Process claim “fail[ed] as a matter of law.” (Op. 44.)

       Merck’s claim under the Takings Clause is fundamentally different. Merck does not assert

a right to sell its drugs to Medicare at a market price; rather, it asserts a right not to be compelled

to sell its drugs to Medicare at the government-dictated price. ECF 52 at 12. It is the drugs

themselves—which everyone concedes are property protected by the Takings Clause—that are

being taken by the Program. The AstraZeneca court actually confirmed the premise of this claim

by acknowledging that the Program compels manufacturers to “make the selected drug available

to Medicare beneficiaries” at the government-dictated discounted price. (Op. 9.)
          Case 1:23-cv-01615-CKK Document 65 Filed 03/04/24 Page 2 of 2




       The Government points to the court’s statement that “neither the IRA nor any other federal

law requires AstraZeneca to sell its drugs to Medicare beneficiaries.” (Op. 41.) In context,

however, that language referred to AstraZeneca’s ability to avoid IRA penalties by withdrawing

all of its products from Medicare and Medicaid. And, in the Takings Clause context, the Supreme

Court has rejected attempts by the Government to justify physical takings as “voluntary” on the

ground that a party could avoid the seizure by withdrawing from the relevant market. See, e.g.,

Horne v. Dep’t of Agric., 576 U.S. 350, 356, 365-67 (2015). The AstraZeneca court did not

consider those precedents because no Takings Clause claim was presented in that case. Nor did

the court consider the established limits on the Government’s ability to “condition” Medicare

participation on forfeiture of constitutional rights, because the plaintiffs had not identified any

threshold deprivation of constitutional rights in the first place.

       Finally, the AstraZeneca decision also does not purport to speak to Merck’s claim under

the First Amendment’s compelled speech doctrine.



Dated: March 4, 2024                           Respectfully submitted,

                                               /s/ Yaakov M. Roth
                                               Yaakov M. Roth (D.C. Bar 995090)
                                               Megan Lacy Owen (D.C. Bar 1007688)
                                               Brinton Lucas (D.C. Bar 1015185)
                                               John Henry Thompson (D.C. Bar 90013831)
                                               Louis J. Capozzi III (admission pending)
                                               JONES DAY
                                               51 Louisiana Avenue N.W.
                                               Washington, DC 20012
                                               (202) 879-3939

                                               Counsel for Plaintiffs




                                                   2
